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                                    L-.B.F. 2016-2C "Supplemental" Application of Counsel for Debtor
                                 for Compensation and Reimbursement of Expenses for Post Confirmation
                                                Services Payable by the Chapter 13 Trustee

                                                        UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF PENNSYLVANIA

                                      In re:                                                       )            Chapter 13
                                                       Thomas Wright                               )
                                                                                                   )
                                                                                                   )
                                                                               Debtor              )            Bankruptcy No.18-12162

                                                   SUPPLEMENTAL APPLICATIONS FOR
                                            COMPENSATION AND REIMBURSEMENT OF EXPENSES
                                             FOR SERVICES PERFORMED AFTER CONFIRMATION
                                                          OF CHAPTER 13 PLAN

                                               ................................................................................................
                                                                             Brad J. Sadek, Esquire

applies under § 330 of the Code for an order directing the chapter 13 trustee to pay an award of compensation and
reimbursement of actual, necessary expenses for services performed after confirmation of the debtor's chapter 13 plan and
represents:

1. Applicant is counsel for debtor.

2. The debtor filed a petition under chapter 13 of the Bankruptcy Code on March 3, 2018

3. The debtor's chapter 13 plan was confirmed by the court on January 23, 2019

4. The debtor paid the applicant $ 1,610.00 prior to the filing of the chapter 13 petition.

5. Applicant's prior applications:

      First Application Period

       March 3, 2018           to November 26, 2018                  Date of Order February 4, 2019

                                            Requested                              Allowed                                      Paid                            Due
 Fees                                $ 4,000.00                          $ 4,000.00                               $ 2,390.00                      $ 0.00
 Expenses                            $                                   $                                        $                               $

    Second Application Period
      to   Date of Order

 Fees                                $                                   $                                        $                               $
 Expenses                            $                                   $                                        $                               $
 Grand Totals                        $                                   $                                        $                               $

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6. Applicant requests an award of supplemental compensation of $ 1,250.00 for 4.2 hours expended in providing the
   following services: Resolution of motion to dismiss, Addendum to Amended Plan, Modified Plan, Motion to Modify

7. Applicant requests that compensation be awarded at the following hourly rate(s): $335/hr per attorney and $125/hr per
      paralegal

8. Applicant requests reimbursement of expenses in the amount of $ 0.00 for the following expenses

9. A copy of the applicant's disclosure of compensation pursuant to F.R.B.P. 2016(b) is attached as Exhibit "A"

10. Attached as Exhibit B is a copy of the applicants time records setting forth the dates and amount of time expended for
    the services performed on behalf of the debtor after confirmation of debtor's chapter 13 plan.

11. All services rendered and expenses incurred for which compensation or reimbursement is requested

                  a. were performed or incurred for or on behalf of the debtor, the services and expenses were actual and
                  necessary, and the compensation requested for those services is reasonable; and

                  b. are not duplicative of services and expenses for which compensation or reimbursement was previously
                  requested.

12. If this supplemental application is granted, the debtor's confirmed chapter 13 plan (check whichever is applicable)

                       is adequately funded.

                       is not adequately funded.

13. None of the compensation paid to applicant will be shared with any person other than a member or regular associate
    of applicant's law firm unless 11 U.S.C §504(c) applies.

WHEREFORE, Applicant requests an award of $ 1,250.00 in compensation and of $ 0.00 in reimbursement of actual,
necessary expenses.

        Dated:         September 1, 2020                                    Signed:    /s/ Brad J. Sadek, Esquire
                                                                                                            Applicant

                                                                                By: Brad J. Sadek, Esquire
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